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                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT


JOSEPH STRAUCH, TIMOTHY COLBY,                    )
CHARLES TURNER, and VERNON                        )
CARRE, individually and on behalf of all          )
others similarly situated,                        )
                                                  )
Plaintiffs,                                       )   Case No. 3:14-cv-956 (JBA)
                                                  )
v.                                                )
                                                  )
COMPUTER SCIENCES CORPORATION,                    )
                                                  )
Defendant.


     NOTICE OF SETTLEMENT ON APPEAL: MOTION FOR INDICATIVE RULING
                     REGARDING FAIRNESS HEARING


            Plaintiffs Joseph Strauch, Timothy Colby, Charles Turner, and Vernon Carre

(“Plaintiffs”) hereby provide notice of their settlement with Defendant Computer Sciences

Corporation (“CSC”), subject to this Court’s approval, of all matters in dispute on a class-wide

basis. Accordingly, pursuant to Rules 62.1 and 23 of the Federal Rules of Civil Procedure,

Plaintiffs request an indicative ruling that this Court will conduct a fairness hearing regarding

such settlement upon remand from the Second Circuit Court of Appeals.

            On November 9, 2018, this Court issued a “Ruling on Remedies” and subsequently

appointed a Special Master to resolve the remaining issues pertaining to calculation of damages.

The Special Master entered his Report & Recommendation on May 31, 2019. Dkts. 479, 491.

This Court adopted the Report and Recommendation in significant part and entered an amended

final judgment in favor of Plaintiffs on August 12, 2019. Dkts. 514, 515. CSC appealed both the

judgment and the District Court’s class certification decision (No. 14-cv-956, Dkt. 519; 2d Cir.

Case No. 18-3136).


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            On July 27, 2020, this Court granted Plaintiffs’ Motion for Service Awards, and granted

in part Plaintiffs’ Motion for Attorneys’ Fees and Costs. Dkt. 563. CSC noticed an appeal on

August 21, 2020 (No. 14-cv-956, Dkt. 565; 2d Cir. Case No. 20-2812), to which Class Counsel

for Plaintiffs noticed a cross-appeal on August 24, 2020 (No. 14-cv-956, Dkt. 567; 2d Cir. Case

No. 20-2814).

            During the course of the appeals, the Parties participated in settlement discussions and

reached a settlement on a classwide basis memorialized in a Memorandum of Understanding

signed by the parties on October 26, 2020. On October 29, 2020, the parties jointly requested

that the Court of Appeals hold the appeal in abeyance and take the November 9 oral argument

off calendar, pending the District Court’s approval of settlement. The Court of Appeals granted

that request. Because the Parties’ agreement provides relief to a settlement class, one of the

terms of settlement is that the Settlement Agreement shall be submitted to this Court in order for

the Court to conduct a fairness hearing and approve the settlement pursuant to Fed. R. Civ. P.

23(e)(2).

            Accordingly, Plaintiffs respectfully request that this Court enter an order pursuant to Fed.

R. Civ. P. 62.1 indicating that it will accept limited remand of this case from the Second Circuit

Court of Appeals in order to conduct a hearing regarding the fairness, reasonableness, and

adequacy of the proposed settlement. Plaintiffs further request that the Court set a deadline for

Plaintiffs to file their Preliminary Approval Motion by no later than January 6, 2021.


Date: December 16, 2020                                Respectfully submitted,




                                                      /s/ Jahan C. Sagafi

                                                      OUTTEN & GOLDEN LLP


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